Case 3:10-cr-30066-DRH    Document 45     Filed 02/17/11   Page 1 of 2   Page ID #72




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

Plaintiff,

v.

SCOTT T. WELDON and
ANDREA R. FIELDS,

Defendants                                                 No. 10-30066-DRH



                                      ORDER

HERNDON, Chief Judge:

             Now before the Court is Defendant Weldon’s motion (Doc. 44).

Defendant states that he intends to plead but that he needs additional time to

conduct plea negotiations. The Government does not object. The Court being fully

advised in the premises finds that Weldon needs additional time. The Court finds

that pursuant to 18 U.S.C. § 3161(h)(7)(A), the ends of justice served by the

granting of such continuance outweigh the best interests of the public and all

Defendants in a speedy trial. The Court also finds that to deny a continuance of the

matter would result in a miscarriage of justice.

             Therefore, the Court GRANTS Defendant Weldon’s fourth motion to

continue (Doc. 44). The Court CONTINUES the jury trial scheduled for March 7,



                                     Page 1 of 2
Case 3:10-cr-30066-DRH     Document 45     Filed 02/17/11   Page 2 of 2   Page ID #73




2011 to Monday, May 2, 2011 at 9:00 a.m. The time from the date the original

motion was filed, February 17, 2011, until the date to which the trial is rescheduled,

May 2, 2011, is excludable time for the purposes of speedy trial.

             Should either, party believe that a witness will be required to travel on

the Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance.

             IT IS SO ORDERED.

             Signed this 17th day of February, 2011.
                                                                  David R. Herndon
                                                                  2011.02.17
                                                                  16:33:23 -06'00'

                                                    Chief Judge
                                                    United States District Court




                                     Page 2 of 2
